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                          EXHIBIT F.5
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 Gross Reservoir Expansion Project

 MEETING AGENDA & MINUTES

  Meeting Title:      Boulder County Parks and       Date/Time:           02/03/2021 9 a.m.
                      Open Space and Denver
                      Water Coordination Meeting
  Prepared By:        M. Brasfield                   Location:            Online - Teams

  Reviewed By:        Denver Water, Tetra Tech,      Project              Docket SI-20-0003 1041
                      Boulder County Parks and       Number/File          Permit Application for GRE
                      Open Space                     Number:              Project


 Meeting Summary:
 Boulder County Parks and Open Space staff met with Denver Water staff and their Consultant, Tetra
 Tech, to discuss key resource impacts and mitigation or enhancement activities associated with the Gross
 Reservoir Expansion (GRE) Project and address questions raised in Denver Water’s 1041 permit
 application to the County for the GRE Project.

                                      Team Members in Attendance
                     Travis Bray – Denver Water              Jeff Moline – Boulder County
                   Ashley Denault – Denver Water             Ron West – Boulder County
                     Doug Raitt – Denver Water             Rachel Badger – Denver Water
                 Melissa Brasfield – Denver Water
                   Stephanie Phippen – Tetra Tech

 Notes:

 History of mitigation and enhancements associated with the Gross Reservoir Expansion Project
     • Rachel provided an update of the environmental review process to date with all the various state
         and federal agencies.
     • Travis added that Denver Water has engaged in continued collaboration and has demonstrated
         Denver Water is willing to work with stakeholders to find solutions.
     • Travis discussed some of the key mitigation projects, including the Environmental Pool IGA with
         Cities of Boulder and Lafayette, endorsement of the Fish and Wildlife Mitigation and
         Enhancement Plans with Colorado Parks and Wildlife and Colorado Water Conservation Board,
         the landmark Colorado River Cooperative Agreement in 2013, the IGA to form the Grand County
         Learning By Doing collaborative effort, a Settlement Agreement with the U.S. Forest Service, 401
         Water Quality Certification from CDPHE, and the Final Mitigation Plan (Corps ROD).

 Toll Property
     • Rachel provided a review of the Toll Property and that Denver Water heard from various
         stakeholders regarding impacts on the Winiger Ridge Ecological Conservation Area. Denver
         Water understands that the area near Gross Reservoir includes unique habitat and special
         species. Unlike some projects where habitat can be mitigated following construction, Denver
         Water cannot reclaim this area after construction, as it will be inundated. Because Denver Water
         is unable to replace this habitat with new habitat on site, Denver Water explored how they could
         protect high quality habitat elsewhere, which led to the Toll Property mitigation.
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     •   Rachel reviewed the various components of the Toll Property including fens, wetlands, important
         sensitive species habitat, and stream habitat along South Boulder Creek.
     •   Jeff Moline asked what Denver Water’s role is in protecting the Toll Property?
              o Travis pointed out the parcels that are currently Denver Water property will be conveyed.
                 All the parcels are inholdings surrounded by National Forest Service lands so the USFS
                 was eager to pull them into the same overall management without any easements on
                 them.
     •   Jeff asked whether the USFS had indicated how they plan to manage the land in the Toll
         Property?
              o Travis said he assumes the USFS will manage the inholdings the same as other National
                 Forest System lands in the area. The USFS has not indicated any intention to build new
                 recreation facilities on the transferred lands.
              o Rachel noted Denver Water will be transferring a total of 539 acres to the USFS. The
                 total area protected under the Toll Property is approximately 4,700 acres. Travis added
                 that the GRE Project will affect about 200 acres of sensitive National Forest System
                 lands on Winiger Ridge. And Denver Water transferred more than twice that area of high
                 ecological value to the USFS.
              o Rachel added a memo is being developed and will be included in the response to
                 comment that describes the ecological values of the Toll Property in detail.
     •   Ron asked for clarification of locations on the maps presented in the slides.
              o Travis and Melissa provided additional context and information.
     •   Jeff asked if Denver Water will retain any rights to the lands that will be transferred to the USFS?
         And also asked about Denver Water’s role after the land is conveyed?
              o Travis explained Denver Water’s commitment to transfer the parcels to the USFS, who
                 will manage the lands from that point forward. Denver Water will not retain any rights or
                 role once the land is transferred.
     •   Ron asked if the areas mapped as old placer claims had been placer mined? And also asked if
         the roads are publicly accessible?
              o Travis explained he has noticed evidence of mining activities during past site visits but
                 nothing substantial. The roads in the area are NFS lands and are difficult to pass.
              o Travis pointed out on the map where a previous reservoir site was located.
              o Travis also noted key features in the Toll Property including Mammoth Gulch, South
                 Boulder Creek, the riparian habitat and wetlands. The rest of the Toll Property is forest.
                 Rachel added that the memo describes these areas as well as the iron fens in the Toll
                 Property. The memo also summarizes Colorado Natural Heritage Program (CNHP)
                 assessments of the area from 2011 and 2014.

 Denver Water’s watershed sustainability, energy, and water conservation efforts
    • Rachel explained Denver Water will respond to the County’s tree removal and carbon loss
        concerns in the response to comments. She described the Toll Property as a primary offset to
        related impacts.
    • Rachel provided an overview of Denver Water efforts to watershed planning, sustainability, and
        long-term sustainability management planning.
    • Rachel noted Denver Water is energy neutral, including new buildings and existing caretaker
        facilities at reservoir locations. Denver Water’s new administration building incorporated reduced
        output emissions.
    • Rachel explained that since 2010 the From Forests to Faucets Program has successfully
        revegetated more than 300 acres.
    • The GRE Project involved increased hydropower which will allow Xcel Energy to offset 500
        million pounds per year of emissions.
    • Jeff indicated Parks and Open Space’s comments focused on the direct environmental impacts,
        and other groups in the County likely commented on carbon loss or other indirect items.
    • Jeff asked if Denver Water plans to respond to concerns from Parks and Open Space staff about
        the proposed tree removal approaches?
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            o    Jeff followed up and noted concerns with air curtain burners. He also noted Parks and
                 Open Space uses helicopter logging on County Open space properties.
             o Rachel confirmed Denver Water solicited input on the 2019 Tree Removal Plan from
                 Boulder County and other regional forestry experts. Denver Water is currently developing
                 a revised Plan, which the FERC Order requires to be submitted by July 2021. Denver
                 Water is advancing the preparation of the Plan to allow Boulder County time to review the
                 Plan and provide input. Rachel indicated Denver Water’s intent to provide the Plan to
                 Boulder County in approximately early to mid-March. The Plan will explain the tree
                 removal techniques and disposal activities.
             o Travis added that in 2019, Denver Water met with forestry experts to evaluate every
                 option to cut trees and dispose of them. The effort considered how to move cut trees to
                 staging areas and determined that the best way was primarily using helicopters. The Plan
                 evaluated four areas where trees could be taken. Once in the four areas, the Plan
                 considered using air curtain destructors (a contained system where the wood burns hot
                 and emits very little smoke). During Denver Water’s collaboration with agencies, many
                 noted that air curtain burning would take too long to be practical. Historical disposal
                 methods like pile and burn were not considered.
             o The Plan also reviewed the possibility of using biochar to dispose of the cut trees but
                 found that biochar was even slower than air curtain burning and involved large, upfront
                 and hauling costs. The Plan considered transporting whole logs offsite to Gypsum to
                 make pellets, to biochar facilities on the Front Range, or to other locations. Denver Water
                 is evaluating the appropriate mix of options, considering hauling and truck traffic,
                 economics which change based on the timber industry, and other factors. The goal is to
                 give the County an idea of what to expect on-site and trucks while maintaining the
                 flexibility to respond to current conditions at the time of the tree removal.
    •   Jeff asked if Denver Water is conducting a carbon footprint analysis to identify the appropriate
        tree removal options? He noted that the Parks and Open Space building is heated partially by
        wood chips harvested from County forestry activities.
             o Travis explained that Denver Water is considering the most feasible options to reduce
                 truck traffic, reasonable times for any on-site treatments, and sustainability of the end
                 product. Closer disposal options would reduce transportation impacts. The main focus in
                 selecting specific options is to minimize impacts to residents by reducing traffic where
                 feasible.
    •   Jeff notes that he did not recall reading about helicopter logging in the 1041 permit application.
             o Rachel confirmed the tree removal details were not explained in detail in the 1041 plan
                 because details were described in the 2019 Plan and will be updated and described in
                 the forthcoming Tree Removal Plan required per the FERC Order. Travis elaborated that
                 in 2019, Denver Water prepared a Tree Removal Plan which considered all options and
                 described four alternatives for tree removal. As Jeff suggested, Boulder County
                 commented on that 2019 Plan. Denver Water is working on a final Tree Removal Plan
                 that incorporates the feedback from Boulder County and other agencies and describes
                 the current removal, hauling, and disposal activities. Denver Water will share the new
                 Plan with Boulder County in March.

 Walker Ranch impacts and trail connections
    • Rachel noted that Walker Ranch is a sensitive and popular area. Denver Water is working to
        update the Recreation Management and Recreation Monitoring Plans.
    • Travis asked where Parks and Open Space thought a trail connection between Walker Ranch
        and Denver Water property could be made?
           o Jeff indicated that the recreation staff would have to provide specifics. Jeff also noted
                Boulder County’s Comprehensive Plan recognizes a goal of establishing a regional trail
                connection from Eldorado Springs through Walker Rach and continuing toward
                Nederland.
    • Rachel notes a 1041 permit application comment from Parks and Open Space that indicated this
        department could provide additional recreational visitor use information for Walker Ranch.
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              o Jeff confirmed and committed to providing recreational visitor use data for Walker Ranch.
     •   Jeff asked how Denver Water is coping with increasing recreation pressure at Front Range
         facilities like Gross reservoir?
              o Travis confirmed that Denver Water facilities are seeing a large increase in use. Rachel
                   added that we are facing issues with maintenance and upkeep of facilities and parking
                   issues.
     •   Melissa suggested setting up a meeting with Denver Water and Boulder County recreation
         specialists to discuss options for addressing increasing recreation use levels.
              o Jeff agreed that a meeting between Boulder County recreation staff and Denver Water
                   could be beneficial.
     •   Jeff asked whether Denver Water anticipates the expanded Gross Reservoir will attract more
         people?
              o Melissa noted that based on recent trends, even prior to COVID-19, we are seeing an
                   increase in visitor use and will likely continue to see that increase. She notes that with the
                   expansion, Denver Water will not be able to increase amenities due to limits in the FERC
                   Order but there may be opportunities to make areas more efficient post construction (i.e.
                   parking lots).
              o Travis added that increase population across the Front Range is the biggest reason for
                   the increasing visitor and recreation use and will continue to increase in the future.

 Learning By Doing Approach
    • Rachel described that Denver Water was encouraged by comments from the Boulder Flycasters,
        the local chapter of Trout Unlimited. They recommended bringing parties to the table to focus on
        South Boulder Creek stream health, similar to GRE’s successful Learning By Doing (LBD)
        program in Grand County focused on the aquatic environment.
    • Travis described Learning By Doing and noted that the program gave Trout Unlimited a seat at
        the table. He emphasized that the program focuses on collaborating toward responsive solutions
        to aquatic health issues. They have found that Denver Water’s involvement has encouraged
        others with roles in water management to agree to changes to benefit the stream. He noted that
        Boulder Flycasters would like to implement a similar approach to benefit South Boulder Creek.
        Opportunities for enhancement exist both above and below Gross Reservoir, including better flow
        management. Denver Water has relatively junior water rights but the Environmental Pool in Gross
        Reservoir that will be part of GRE Project can be used to help manage flows. Denver Water has
        ideas, and is open to initiating discussions with Boulder, Lafayette, Louisville, and others. For an
        Learning By Doing approach to be successful, Denver Water believes that Boulder County will
        have to be at the table too. Denver Water is hoping that Boulder County would become a
        member, likely through an IGA, similar to the agreement in Grand County.
             o Jeff agreed that fisheries staff in Parks and Open Space would likely be interested in
                 Learning By Doing. He explained that the County works closely with the City of Boulder
                 and that downstream of Eldorado Springs, most Open Space falls within the City’s (not
                 the County’s) program. He stated that Parks and Open Space supports efforts to improve
                 the health of South Boulder Creek, including improving habitat for fish and Preble's
                 meadow jumping mouse.
             o Jeff noted that wildlife biologists and others in Parks and Open Space will be interested in
                 a Learning By Doing program if established.
    • Jeff asked if Learning By Doing is a formal program in Grand County and asked if Denver Water
        will describe Learning By Doing in their response to 1041 Permit application comments?
             o Rachel confirmed that Learning By Doing is a formal program in Grand County with
                 mission, goals, etc. established in an IGA between Denver Water, Grand County, and
                 other partners.
             o The response to 1041 comment will include Denver Water’s concurrence with the
                 suggestion for a Learning By Doing effort and describe the Grand County effort and
                 explain how that Learning By Doing program was established.

 Closing notes
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    o    Jeff asked about the schedule for next steps.
              o Rachel explained that Denver Water plans to submit the responses to 1041 comments on
                 February 19 to Boulder County Planning Department (through Summer Frederick).
                 Denver Water assumes the County will review those comments and send the response to
                 comments to the referral agencies for additional review.
              o Denver Water’s goal is to be responsive to comments and provide adequate and
                 sufficient information to address Boulder County’s 1041 requirements and receive a
                 sufficiency statement and authorization through the Board of County Commissioners.
                 Denver Water plans to include a schedule in the response-to-comments package,
                 primarily for Summer and Dale Case’s review, to highlight Denver Water’s timeline to
                 meet the obligations under the FERC Order. The FERC Order includes required dates
                 when Denver Water must start construction, by July 2022. To meet that requirement,
                 Denver Water will provide a schedule that includes the timing of the 1041 process.


                                            Major Action Items
                     Action Item                      Responsible Party           Completed
  Boulder County to send Denver Water
  recreational visitor use information for Walker         Jeff Moline
  Ranch.
  Denver Water to coordinate a meeting with
  Boulder county recreation staff to discuss
                                                       Melissa Brasfield
  increase recreation impact and pressures, and
  potential trail connections.
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Expansion Project –
Parks & Open Space
Comments
Feb. 3, 2021
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Purpose of the Meeting

To facilitate a common understanding of key resource impacts and
mitigation or enhancement activities associated with the GRE Project.


We have heard Boulder County is concerned about:
• Impacts to Winiger Ridge Environmental Conservation Area and other sensitive
  resource areas in the county that support wildlife.
• Tree removal and carbon emissions.
• Impacts and connections to Walker Ranch Open Space.
• South Boulder Creek stream health.
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                                 Agenda
                                 • Introductions
                                 • Topics:
                                     •    Impacts to sensitive resource areas/Winiger Ridge
                                     •    Tree removal and carbon
                                     •    Walker Ranch
                                     •    South Boulder Creek stream health

                                 • Discussion
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Housekeeping

• Please turn on your cameras.
• We will go topic by topic with time for larger discussion between each…
• But let us know if you have a question:
  •   Drop them in the chat.
  •   Use the “Raise Hand” function.
  •   Jump in!
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Introductions


                                 HELLO
                                  my name is
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 Previous mitigation and enhancement for the GRE Project:

              Fish & Wildlife                               Grand County                     Settlement Agreement with
              Mitigation Plan and                           Mitigation                       the U.S. Forest Service;
              Enhancement Plan                              Enhancement and                  Water Quality Certification
              endorsed by CPW                               Coordination Plan                issued by CDPHE


    2010             2011       2012            2013             2014            2015              2016         2017


IGA with cities of                          IGA with Grand County                                           Final Mitigation
Boulder and                                 for Learning by Doing                                           Plan, Attachment
Lafayette for an                            Cooperative Effort;                                             E to Corps
Environmental                               Colorado River                                                  Record of
Pool                                        Cooperative Agreement                                           Decision
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Impacts to sensitive resource areas/Winiger Ridge
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Toll Property conveyance
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Tree removal and carbon
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Walker Ranch
• Impacts
• Connections
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South Boulder Creek – Stream Health




                                               GROSS
                                               RESERVOIR
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                           Discussion:
           Boulder County Impacts of Concern / Mitigation

• Impacts to Winiger Ridge ECA and other sensitive resource areas in
  the County that support wildlife.

• Tree removal and carbon emissions.

• Impacts and connections to Walker Ranch Open Space.

• South Boulder Creek stream health.
